      Case 2:17-cv-00569-GMS Document 38 Filed 01/19/18 Page 1 of 2



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 5

 6                           IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF ARIZONA
 7
       GLYNIS BROOKS,                                  Case No: 2:17-cv-00569-GMS
 8
               Plaintiff,
                                                       NOTICE OF SETTLEMENT
 9     v.
10     EQUIFAX INFORMATION
       SERVICES LLC,
11
              Defendants.
12
            Plaintiff Glynis Brooks (“Plaintiff”), by and through her undersigned counsel,
13
     hereby notifies the Court that Plaintiff has reached a settlement in the above-referenced
14   matter with Equifax Information Services LLC (“Equifax”). Plaintiff and Equifax are in the
15   process of finalizing the settlement, whereupon Plaintiff will move for dismissal with
16   prejudice. Plaintiff anticipates that the settlement and dismissal of claims against Equifax
17   will be finalized within the next sixty (60) days.

18

19          Respectfully submitted this 19th day of January, 2018.

20

21            SNELL & WILMER                              MCCARTHY LAW PLC

22            By:/s/ Christopher Meyers                   By:/s/ Jacob W. Hippensteel
              Christopher Meyers                          Kevin Fallon McCarthy, Esq.
23            One Arizona Center                          Jacob W. Hippensteel, Esq.
              400 East Van Buren Street, #1900            4250 N. Drinkwater Boulevard, Suite 320
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              Attorney for Defendant: Equifax
25            Information Services, LLC                   Attorneys for Plaintiff



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      Case 2:17-cv-00569-GMS Document 38 Filed 01/19/18 Page 2 of 2



 1
                                 CERTIFICATE OF SERVICE
 2
           I hereby certify that on this 19th day of January, 2018, I electronically transmitted
 3   the foregoing document to the Clerk’s Office using the ECF system for filing and
 4   transmittal of a Notice of Electronic Filing to all CM/ECF registrants of record in this
 5   matter.
 6
           By: /s/Jacob W. Hippensteel
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